Case: 1:24-cr-00190 Document #: 23-5 Filed: 03/05/25 Page 1 of 2 PageID #:129




                       EXHIBIT 5
   Case: 1:24-cr-00190 Document #: 23-5 Filed: 03/05/25 Page 2 of 2 PageID #:130



March 1, 2025



Dear Honorable Judge,


My name is                 I am writing this letter in support of Brendan Globensky, who is
currently before your Court. I have known Brendan for several years, and I am honored to
provide this character reference on his behalf.

Our 15-year old daughters were born on the same day, in the same hospital, and just a few
hours apart. However, our families didn’t meet until the girls started school and ended up in the
same kindergarten class.

Since then, I have spent a great deal of time with Brendan. I have always found him to be a
kind and gracious person. He is thoughtful, generous, genuine, and supportive of his friends. I
participated in a gallery opening as one of t      ists in 2018. Brendan had dental surgery
earlier in the day, yet both he and his wife,       , made sure they were present at my
event. He was a good sport, even after crunching down on that temporary crown, mid-party!
Even writing this makes me giggle at the memory.

I am aware of the seriousness of the charges against Brendan, and I do not wish to downplay
the gravity of the situation. However, I firmly believe that this incident is not reflective of
Brendan’s true character. I’m confident he has learned a valuable lesson from this experience,
and I know he will carry this lesson with him.

In conclusion, I respectfully request that you take this letter into consideration when
determining Brendan’s sentence. I believe that he is a person of integrity who made a mistake
and deserves a chance to demonstrate his commitment to making amends.
Thank you for your time and consideration.

Sincerely,
